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 5   Attorney for Defendant
     TRI HUU BUI
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 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )
                                                   )
12                          Plaintiff,             )         No. Cr. S-05-542 GEB
                                                   )
13                                                 )         STIPULATION AND [PROPOSED]
                    v.                             )         ORDER CONTINUING STATUS
14                                                 )         CONFERENCE; EXCLUSION OF TIME
                                                   )
15   TRI HUU BUI, et al.,                          )         Date: April 8, 2011
                                                   )         Time: 9:00 a.m.
16                          Defendants.            )         Judge: Honorable Garland E. Burrell, Jr.
                                                   )
17
18          It is hereby stipulated and agreed by and between the United States of America, through
19   Assistant U.S. Attorney Matthew C. Stegman, and defendant TRI HUU BUI, through his counsel
20   Scott L. Tedmon, that the status conference set for Friday, April 8, 2011 at 9:00 a.m. be continued
21   to Friday, May 6, 2011 at 9:00 a.m. Counsel for the government and counsel for Mr.
22   Tri Bui continue to engage in ongoing negotiations in an effort to resolve the case. As of this date,
23   there are remaining issues which need to be addressed by both the government and the defense
24   before a resolution can be finalized. Counsel for the government and defense counsel agree that
25   additional time is necessary to address those issues.
26          Based on the foregoing, counsel for the government and counsel for Mr. Tri Bui agree and
27   stipulate to the setting of a status conference on May 6, 2011 at 9:00 a.m. Defense counsel has
28   confirmed the Court is available for status conference on May 6, 2011 at 9:00 a.m.

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 1                          SPEEDY TRIAL ACT - EXCLUSION OF TIME
 2          The parties stipulate that as to defendant Tri Huu Bui, the Court should find that time be
 3   excluded through May 6, 2011, under the Speedy Trial Act, pursuant to 18 U.S.C. §
 4   3161(h)(7)(B)(iv), [Local Code T4], reasonable time necessary for effective counsel preparation.
 5   The parties stipulate and agree that the interests of justice served by granting this continuance
 6   outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §
 7   3161(h)(7)(A).
 8          Finally, Scott L. Tedmon has been authorized by counsel for the government to sign this
 9   stipulation on their behalf.
10   IT IS SO STIPULATED.
11   DATED: April 4, 2011                        BENJAMIN B. WAGNER
                                                 United States Attorney
12
                                                  /s/ Matthew C. Stegman
13                                               MATTHEW C. STEGMAN
                                                 Assistant U.S. Attorney
14
15   DATED: April 4, 2011                        LAW OFFICES OF SCOTT L. TEDMON
16                                                /s/ Scott L. Tedmon
                                                 SCOTT L. TEDMON
17                                               Attorney for Tri Huu Bui
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 1                                                 ORDER
 2          GOOD CAUSE APPEARING and based upon the above stipulation, the Court finds that
 3   time be excluded under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(b)(iv), [Local Code
 4   4], reasonable time necessary for effective counsel preparation, and that the ends of justice therefore
 5   outweigh the best interest of the public in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). Accordingly,
 6          IT IS ORDERED that the April 8, 2011 status conference as to defendant Tri Huu Bui is
 7   continued to Friday, May 6, 2011, at 9:00 a.m., for further status conference.
 8          IT IS FURTHER ORDERED pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), [Local Code T4],
 9   that as to defendant Tri Huu Bui, the period from April 8, 2011 to and including May 6, 2011, is
10   excluded from the time computations required by the Speedy Trial Act.
11
12          IT IS SO ORDERED.
13   Dated: April 4, 2011
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15                                              GARLAND E. BURRELL, JR.
16                                              United States District Judge

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